         Case 1:18-cv-05181-SCJ Document 47 Filed 01/11/19 Page 1 of 8




                    UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

THE DEMOCRATIC PARTY OF GEORGIA,
INC., AND AFG GROUP INC,

              PLAINTIFFS,

       V.
                                                          Civ. Act. No.
ROBYN A. CRITTENDEN, IN HER OFFICIAL                   1:18-cv-5181-SCJ
CAPACITY AS SECRETARY OF STATE OF
THE STATE OF GEORGIA; STEPHEN DAY,
JOHN MANGANO, ALICE O’LENICK, BEN
SATTERFIELD, AND BEAUTY BALDWIN, IN
THEIR OFFICIAL CAPACITIES AS
MEMBERS OF THE GWINNETT COUNTY
BOARD OF REGISTRATION & ELECTIONS;
AND MICHAEL COVENY, ANTHONY LEWIS,
LEONA PERRY, SAMUEL TILLMAN, AND
BAOKY VU, IN THEIR OFFICIAL
CAPACITIES AS MEMBERS OF THE
DEKALB COUNTY BOARD OF
REGISTRATION & ELECTIONS,

              DEFENDANTS,

GEORGIA REPUBLICAN PARTY, INC.,

              INTERVENOR-DEFENDANT.


                       STIPULATION OF DISMISSAL




KH520765.DOCX 3
         Case 1:18-cv-05181-SCJ Document 47 Filed 01/11/19 Page 2 of 8




       Pursuant to Federal Rule of Civil Procedure 41(a)(1), Plaintiffs The

Democratic Party of Georgia, Inc. and AFG Group Inc; Defendants Robyn A.

Crittenden, in her official capacity as Secretary of State of The State of Georgia;

Stephen Day, John Mangano, Alice O’Lenick, Ben Satterfield, and Beauty

Baldwin, in their official capacities as Members of the Gwinnett County Board of

Registration & Elections; and Michael Coveny, Anthony Lewis, Leona Perry,

Samuel Tillman, and Baoky Vu, in their official capacities as members of the

DeKalb County Board of Registration & Elections; and Intervenor-Defendant

Georgia Republican Party, Inc. hereby stipulate as follows:

       WHEREAS, on November 11, 2018, Plaintiffs filed the above-captioned

lawsuit alleging federal constitutional violations concerning the casting and

counting of absentee vote-by-mail ballots and provisional ballots in the 2018

General Election and seeking declaratory and injunctive relief;

       WHEREAS, on November 12, 2018, Plaintiffs moved on an emergency

basis for a preliminary injunction granting relief on their claims;

       WHEREAS, on November 13, 2018, Intervenor-Defendant moved to

intervene in this lawsuit, which Plaintiffs did not oppose;




KH520765.DOCX 3                            2
            Case 1:18-cv-05181-SCJ Document 47 Filed 01/11/19 Page 3 of 8




       WHEREAS, on November 13, 2018, the Court convened a hearing on

Plaintiffs’ emergency motion for preliminary injunction and heard argument from

all parties to the lawsuit;

       WHEREAS, on November 14, 2018, the Court granted Intervenor-

Defendant’s motion to intervene;

       WHEREAS, on November 14, 2018, the Court issued an Order granting in

part and denying in part Plaintiffs’ emergency motion for preliminary injunction;

       WHEREAS, the parties desire to avoid the costs and uncertainty of further

litigation of this lawsuit;

       Now, THEREFORE, all Parties agree and stipulate as follows:

       1.       The parties STIPULATE that the above-captioned action, including all

of the claims and causes of action alleged in Plaintiffs’ Complaint, shall be

dismissed; and further,

       2.       The parties STIPULATE that each party shall bear its own fees and

costs in connection with this litigation, including costs of the Clerk of Court.

                              [signatures on following pages]




KH520765.DOCX 3                              3
         Case 1:18-cv-05181-SCJ Document 47 Filed 01/11/19 Page 4 of 8




       Presented and Consented to this 11th day of January 2019 by:

                                      KREVOLIN & HORST, LLC

                                      /s/ Adam M. Sparks
                                      Halsey G. Knapp, Jr.
                                      Georgia Bar No. 425320
                                      Adam M. Sparks
                                      Georgia Bar No. 341578
                                      One Atlantic Center, Suite 3250
                                      1201 W. Peachtree Street., N.W.
                                      Atlanta, Ga 30309
                                      (404) 888-9700
                                      (404) 888-9577
                                      Email: hknapp@khlawfirm.com
                                      Email: sparks@khlawfirm.com
                                      Attorneys for The Democratic Party of
                                      Georgia, Inc. and AFG Group Inc d/b/a
                                      Stacey Abrams for Governor


                                      Christopher M. Carr
                                         Attorney General
                                         Georgia Bar No. 112505

                                          Annette M. Cowart
                                          Deputy Attorney General
                                          Georgia Bar No. 191199

                                          Russell D. Willard
                                          Senior Assistant Attorney General
                                          Georgia Bar No. 760280

                                          Cristina Correia
                                          Senior Assistant Attorney General
                                          Georgia Bar No. 188620


KH520765.DOCX 3                          4
         Case 1:18-cv-05181-SCJ Document 47 Filed 01/11/19 Page 5 of 8




                                    BURR & FORMAN LLP

                                       /s/ William C. Collins, Jr.
                                        William C. Collins, Jr.
                                        Special Assistant Attorney General
                                        Georgia Bar No. 178847

                                             171 Seventeenth Street, NW
                                             Suite 1100
                                             Atlanta, Georgia 30363
                                             (404) 815-3000
                                             (404) 817-3244 (fax)
                                           Attorneys for Secretary of State Robyn
                                           Crittenden


                                    /s/ Bryan P. Tyson
                                    Frank B. Strickland
                                    Georgia Bar No. 687600
                                    fbs@sbllaw.net
                                    Bryan P. Tyson
                                    Georgia Bar No. 515411
                                    bpt@sbllaw.net
                                    Anne W. Lewis
                                    Georgia Bar No. 737490
                                    awl@sbllaw.net
                                    STRICKLAND BROCKINGTON
                                            LEWIS LLP
                                    Midtown Proscenium Suite 2200
                                    1170 Peachtree Street NE
                                    Atlanta, GA 30309
                                    (678) 347-2200

                                    Richard A. Carothers
                                    Georgia Bar No. 111075
                                    richard.carothers@carmitch.com

KH520765.DOCX 3                        5
         Case 1:18-cv-05181-SCJ Document 47 Filed 01/11/19 Page 6 of 8




                                    Brian R. Dempsey
                                    Georgia Bar No. 217596
                                    Brian.dempsey@carmitch.com
                                    CAROTHERS & MITCHELL, LLC
                                    1809 Buford Highway
                                    Buford, GA 30518
                                    (770) 932-3552
                                    Attorneys for Stephen Day, John Mangano,
                                    Alice O’Lenick, Ben Satterfield, and Beauty
                                    Baldwin, in their official capacities as
                                    Members of the Gwinnett County Board of
                                    Registration & Elections


                                    HALL BOOTH SMITH, P.C.

                                    /s/R. David Ware
                                    R. David Ware
                                    Ga. Bar. No. 737756
                                    dware@hallboothsmith.com
                                    191 Peachtree Street
                                    Suite 2900
                                    Atlanta, GA. 30097
                                    (404) 586-6619
                                    Attorneys for Anthony Lewis, Leona Perry,
                                    Samuel Tillman and Baoky Vu,
                                    In their Official Capacities as Members
                                    Of the DeKalb County Board of Registration
                                    and Elections


                                    /s/ Josh Belinfante
                                    Josh Belinfante
                                    Georgia Bar No. 047399
                                    W. Ryan Teague
                                    Georgia Bar No. 701321
                                    Vincent R. Russo
                                    Georgia Bar No. 242628
KH520765.DOCX 3                        6
         Case 1:18-cv-05181-SCJ Document 47 Filed 01/11/19 Page 7 of 8




                                    Brian E. Lake
                                    Georgia Bar No. 575966
                                    Kimberly Anderson
                                    Georgia Bar No. 602807
                                    Robbins Ross Alloy Belinfante Littlefield
                                    LLC
                                    500 14th Street, NW,
                                    Atlanta, Georgia 30318
                                    Telephone: (678) 701-9381
                                    Facsimile: (404) 856-3250

                                    Attorneys for GAGOP




KH520765.DOCX 3                        7
         Case 1:18-cv-05181-SCJ Document 47 Filed 01/11/19 Page 8 of 8




                        CERTIFICATE OF COMPLIANCE

       Pursuant to LR 7.1(D), I hereby certify that the foregoing document has

been prepared in accordance with the font type and margin requirements of LR 5.1,

using font type of Times New Roman and a point size of 14.

       This 11th day of January 2019.

                                              KREVOLIN & HORST, LLC

                                              /s/ Adam M. Sparks
                                              Adam M. Sparks



                           CERTIFICATE OF SERVICE

       I hereby certify that on January 11, 2019, a copy of the foregoing

STIPULATION OF DISMISSAL was electronically filed with the Clerk of Court

using the CM/ECF system, which will automatically send notification of such

filing to all attorneys of record.

       This 11th day of January 2019.


                                              KREVOLIN & HORST, LLC

                                              /s/ Adam M. Sparks
                                              Adam M. Sparks




KH520765.DOCX 3
